77 F.3d 468
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Louis J. De MAIO, Plaintiff--Appellant,v.Lloyd BENTSEN, Secretary, Department of the Treasury,Defendant-Appellee.
    No. 95-2255.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 7, 1996.Decided Feb. 14, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   M.J. Garbis, District Judge.  (CA-94-3474-MJG)
      Louis J. De Maio, Appellant Pro Se.  Charles Joseph Peters, Sr., OFFICE OF THE UNITED STATES ATTORNEY, Baltimore, Maryland, for Appellee.
      D.Md.
      AFFIRMED.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his Title VII action.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   De Maio v. Bentsen, No. CA-94-3474-MJG (D. Md. June 6, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    